Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 1 of 9
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 2 of 9
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 3 of 9
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 4 of 9
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 5 of 9
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 6 of 9
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 7 of 9
           Case 2:22-bk-11335-VZ                        Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48                                            Desc
                                                         Main Document    Page 8 of 9

Debtor 1     Dov A. Charney                                                                      Case number (~r~r~.+4
             Fleet Name   MIAde Name              LaM Nams




For your attorney, if you are          ~~ the attorney for the debtors) Warned in ihls peUtlon, declare that I have Informed the debtor{s) about eliglblllty
                                       to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the tells(
represented by one                     available under each chapter for which the person fs eligible, I also certify that I have delivered to the debtors)
                                       the notice required by 11 U.S.C. § 342(b} and, In a case In which § 707(b)(4)(D) applies, certify that I have no
If you are not represented             ~owledge after an Inquiry that the information In the ad~edules f ed with the peiltlon fs Incorrect.
by an attorney, you do not
need to file this page.                X                                ~i / '                            Date           3/10/2022
                                           Signature of Attorney for Debtor                                              MM / DD!YYYY



                                           William N. Lobel
                                           Printed name
                                           Theodora Oringher PC
                                           Firm name

                                           535 Anton Blvd #900
                                           Number            Street



                                           Costa Mesa                                                     CA             92626
                                           Ciry                                                           State          ZIP Code



                                           contact phone 714) 549-$200                                    Er„e,;~sddre5s wlobel~tocounsel.com



                                           93202                                                         CA
                                           Bar number                                                     State




  Official Form 101                                Voluntary Petltlon for Individuals Filing for Bankruptcy         Amciicanl.ognlNc~,liw       page 8
                                                                                                                    wwwfrormxWorkPlow.~rxn
Case 2:22-bk-11335-VZ   Doc 1 Filed 03/10/22 Entered 03/10/22 18:49:48   Desc
                         Main Document    Page 9 of 9
